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6                            UNITED STATES DISTRICT COURT
7                       SOUTHERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                  )    Case No. 15CR2932-H
                                                )
10                             Plaintiff,       )
                                                )    JUDGMENT AND ORDER
11                      v.                      )    OF DISMISSAL
                                                )
                                                )
12   THOMAS MALLOZZI (15),                      )
                                                )
13                             Defendant.       )
                                                )
14                                              )
15
16         Based upon the motion of the United States, the Court grants the government’s
17   motion to dismiss without prejudice the Indictment in the above entitled case against
18   defendant Thomas Mallozzi. The defendant is hereby discharged and the bond is hereby
19   exonerated as to this defendant only.
20         IT IS SO ORDERED AND ADJUDGED.
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22         DATED: July 15, 2016              ________________________________
                                             HONORABLE MARILYN L. HUFF
23
                                             UNITED STATES DISTRICT JUDGE
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